               Case 20-51051-KBO       Doc 181    Filed 08/22/22    Page 1 of 7




                        UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF DELAWARE

In re:                               )
                                     )                    Chapter 11
RS FIT NW LLC,                       )
                                     )                    Case No. 20-11568 (KBO)
                     Debtor.         )
                                     )                    (Jointly Administered)
                                     )
24 HOUR FITNESS WORLDWIDE, INC.,     )
                                     )
                     Plaintiff,      )
                                     )
           v.                        )
                                     )
CONTINENTAL CASUALTY COMPANY;        )                    Adv. Pro. No. 20-51051 (KBO)
ENDURANCE AMERICAN SPECIALTY         )
INSURANCE COMPANY; STARR SURPLUS     )
LINES INSURANCE COMPANY; ALLIANZ     )
GLOBAL RISKS US INSURANCE COMPANY; )
LIBERTY MUTUAL INSURANCE COMPANY; )
BEAZLEY-LLOYD’S SYNDICATES 2623/623; )
ALLIED WORLD NATIONAL ASSURANCE      )
COMPANY; QBE SPECIALTY INSURANCE     )
COMPANY; and GENERAL SECURITY        )
INDEMNITY COMPANY OF ARIZONA,        )
                                     )
                     Defendants.     )
                                     )

                 FIFTH AMENDED STIPULATED SCHEDULING ORDER

         WHEREAS, the Parties have conferred concerning the Adversary Proceeding’s deadlines

and schedule. The Parties agree that certain amendments to the Fifth Amended Stipulated

Scheduling Order are necessary to promote the efficient and expeditious disposition of the

Adversary Proceeding.

         THEREFORE, pursuant to Section 14 of the Bankruptcy Court’s Scheduling Order, the

Parties stipulate and agree to amend the Amended Stipulated Scheduling Order as follows:
              Case 20-51051-KBO          Doc 181      Filed 08/22/22     Page 2 of 7




       1.      Fact Discovery Cut-Off. All fact discovery will be completed on or before October

7, 2022. Unless otherwise ordered by the Bankruptcy Court or agreed to by the Parties, the

limitations on discovery set forth in the Federal Rules of Civil Procedure, made applicable to this

Adversary Proceeding by the Federal Rules of Bankruptcy Procedure, shall be strictly observed.

Any request to add additional depositions beyond the 10-per-side permitted by Federal Rule of

Civil Procedure 30 shall be subject to a meet and confer between the Parties and, if necessary, a

motion with the Bankruptcy Court.

       2.      Disclosure of Expert Testimony. The Parties shall serve their initial Federal Rule

of Civil Procedure 26(a)(2) disclosures of expert testimony on or before October 14, 2022, for any

issue on which they bear the burden of proof. If applicable, the Parties shall file a supplemental

disclosure to contradict or rebut evidence on the same subject matter identified by another Party

on or before November 11, 2022.

       3.      Expert Discovery Cut-Off: All expert discovery, including depositions, will be

completed on or before January 3, 2023

       4.      Dispositive Motion Deadline: Pursuant to Rule 7007-1 of the Local Rules for the

United States Bankruptcy Court for the District of Delaware (the “Local Rules”), the following

deadlines shall apply to the filing and briefing of dispositive motions: All dispositive motions shall

be filed and served by no later than fourteen (14) days after the close of expert discovery (or,

January 17, 2023) pursuant to Rule 7056 of the Federal Rules of Bankruptcy Procedure.

Opposition papers shall be filed and served thirty (30) days later. Reply papers shall be filed and

served fourteen (14) days later.

       5.      Motion to Withdraw the Reference. Defendants may renew their motion to withdraw

the reference of this Adversary Proceeding pursuant to 28 U.S.C. § 157(d) on or before February



                                                  2
              Case 20-51051-KBO          Doc 181     Filed 08/22/22      Page 3 of 7




13, 2023. Plaintiff reserves all rights to object to any such renewal that Defendants may file,

including, but not limited to objections based on contractual language and, generally, objections

to any asserted grounds for withdrawal of the reference.

       6.      For the avoidance of doubt, all other provisions and deadlines set forth in the

Scheduling Order (D.I. 66) shall remain in full force and effect, with the exception of the foregoing

deadlines addressed herein.


Dated: August 22, 2022                                Respectfully submitted,

                                                      DLA PIPER LLP (US)

                                                      /s/ Matthew P. Denn
                                                      Matthew P. Denn (Bar No. 2985)
                                                      Matthew S. Sarna (Bar No. 6578)
                                                      1201 North Market Street, Suite 2100
                                                      Wilmington, DE 19801-1147
                                                      302.468.5700
                                                      302.394.2341 (Fax)
                                                      Email: matthew.denn@us.dlapiper.com
                                                              matthew.sarna@us.dlapiper.com

                                                      Brett Ingerman (admitted pro hac vice)
                                                      DLA PIPER LLP (US)
                                                      The Marbury building
                                                      6225 Smith Avenue
                                                      Baltimore, MD 21209-3600
                                                      410.580.3000
                                                      410.580.3001 (Fax)
                                                      Email: brett.ingerman@us.dlapiper.com

                                                      Attorneys for Continental Casualty
                                                      Company




                                                 3
Case 20-51051-KBO   Doc 181   Filed 08/22/22   Page 4 of 7




                              REED SMITH LLP

                              /s/ Mark W. Eckard
                              Mark W. Eckard (No. 4542)
                              1201 North Market Street, Suite 1500
                              Wilmington, DE 19801
                              (302) 778-7500
                              (302) 778-7575 (Fax)
                              meckard@reedsmith.com

                              David E. Weiss (admitted pro hac vice)
                              T. Connor O’Carroll (admitted pro hac vice)
                              101 Second Street, Suite 1800
                              San Francisco, CA 94105-3659
                              (415) 543-8700
                              (415) 391-8269 (Fax)
                              dweiss@reedsmith.com
                              cocarroll@reedsmith.com

                              Counsel for Plaintiff 24 HOUR FITNESS
                              WORLDWIDE, INC.

                              HOGAN McDANIEL

                              /s/ Garvan F. McDaniel
                              Garvan F. McDaniel (No. 4167)
                              1311 Delaware Avenue
                              Wilmington, DE 19806
                              (302) 656-7596
                              (302) 656-7599 (Fax)
                              gfmcdaniel@dkhogan.com

                              Benjamin W. Loveland (admitted pro hac
                              vice)
                              WILMER CUTLER PICKERING
                              HALE AND DORR LLP
                              60 State Street
                              Boston, MA 02109
                              (617) 526-6641
                              benjamin.loveland@wilmerhale.com




                          4
Case 20-51051-KBO   Doc 181   Filed 08/22/22   Page 5 of 7




                              Lauren R. Lifland (admitted pro hac vice)
                              WILMER CUTLER PICKERING
                              HALE AND DORR LLP
                              7 World Trade Center
                              250 Greenwich Street
                              New York, NY 10007
                              (212) 230-8800
                              lauren.lifland@wilmerhale.com

                              Counsel to Starr Surplus Lines Insurance
                              Company; Allianz Global Risks US
                              Insurance Company; Certain Underwriters
                              at Lloyd’s of London subscribing to Policy
                              No. W27C0A190101; incorrectly sued as
                              “Beazley-Lloyd’s Syndicates 2623/623”;
                              QBE Specialty Insurance Company and
                              General Security Indemnity Company of
                              Arizona

                              GELLERT SCALI BUSENKELL &
                              BROWN, LLC

                              /s/ Michael Busenkell
                              Michael Busenkell (DE No. 3933)
                              1201 N. Orange Street, Suite 300
                              Wilmington, DE 19801
                              (302) 425-5812
                              mbusenkell@gsbblaw.com

                              Richard G. Haddad (admitted pro hac vice)
                              OTTERBOURG, P.C.
                              230 Park Avenue
                              New York, NY 10169-0075
                              (212) 661-9100
                              rhaddad@otterbourg.com

                              Counsel to Allied World National Assurance
                              Company




                          5
Case 20-51051-KBO   Doc 181   Filed 08/22/22   Page 6 of 7




                              Stacey S. Farrell (admitted pro hac vice)
                              Marlie McDonnell (admitted pro hac vice)
                              CLYDE & CO US LLP
                              271 17th Street NW, Suite 1720
                              Atlanta, GA 30363
                              (404) 410-3150
                              stacey.farrell@clydeco.us
                              marlie.mcdonnell@clydeco.us

                              Counsel to Allianz Global Risks US
                              Insurance Company

                              Courtney E. Murphy (admitted pro hac vice)
                              Kyle M. Medley (admitted pro hac vice)
                              Adam S. Cohen (admitted pro hac vice)
                              HINSHAW & CULBERTSON LLP
                              800 Third Avenue, 13th Floor
                              New York, NY 10022
                              (212) 471-6200
                              cmurphy@hinshawlaw.com

                              Counsel to Starr Surplus Lines Insurance
                              Company and Certain Underwriters at
                              Lloyd's of London subscribing to Policy No.
                              W27C0A190101, incorrectly sued as
                              “Beazley-Lloyd’s Syndicates 2623/623”

                              Matthew M. Burke (admitted pro hac vice)
                              ROBINS KAPLAN LLP
                              800 Boylston Street, Suite 2500
                              Boston, MA 02199
                              (617) 859-2711
                              mburke@robinkaplan.com




                          6
Case 20-51051-KBO   Doc 181   Filed 08/22/22   Page 7 of 7




                              Douglas R. Gooding (admitted pro hac
                              vice)
                              Jonathan D. Marshall (admitted pro hac
                              vice)
                              CHOATE, HALL & STEWART LLP
                              Two International Place
                              Boston, MA 02110
                              (617) 248-5000
                              dgooding@choate.com
                              jmarshall@choate.com

                              Counsel to Liberty Mutual Fire Insurance
                              Company

                              Elizabeth Kniffen (admitted pro hac vice)
                              ZELLE LLP
                              500 Washington Avenue South, Suite 4000
                              Minneapolis, MN 55415
                              (612) 359-4261
                              ekniffen@zelle.com

                              Counsel to QBE Specialty Insurance
                              Company and General Security Indemnity
                              Company of Arizona




                          7
